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                            UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA


 SECURITIES AND EXCHANGE
 COMMISSION,
                                                    Civil Action No. 1:23-cv-01599-ABJ
                       Plaintiff,

        v.

 BINANCE HOLDINGS LIMITED, et al.,

                       Defendants.


             [PROPOSED] ORDER GRANTING MOTION FOR ADMISSION OF
                          GARY DEWAAL PRO HAC VICE

       This Court has reviewed the Motion for Admission of Attorney Gary DeWaal Pro Hac

Vice. Upon consideration of that motion, the Court grants attorney Gary DeWaal pro hac vice

admission to this Court.

       It is so ORDERED on this ___ day of ____________________, 2023.




                                          The Honorable Amy Berman Jackson
                                          United States District Judge
